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           ORDERED in the Southern District of Florida on January 3, 2020.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________



                                    UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

          IN RE:                                                       CASE NO. 14-33571-AJC

          ANGELA NUNEZ                                                 Chapter 13
          a/k/a Angela Nunez, Jr.
          a/k/a Aneela Nunez,

                   Debtor.                                /

         AGREED ORDER GRANTING DEBTOR’S MOTION FOR ISSUANCE OF DISCHARGE


                   THIS CASE came before the Court on December 17, 2019 upon the Debtor’s

          Certificateof Compliance, Motion for Issuance of Discharge and Notice of Deadline to Object

          (Document No. 69] (the "Motion"). It being that the parties are in agreement as to the entry of

          this Order, it is

                   ORDERED:

                   The Motion is GRANTED. The Clerk may issue the Order of Discharge exempting the

          arrears owed to Creditor, JPMorgan Chase Bank, National Association from the Order of

          Discharge. Said arrears shall remain due, and Creditor, JPMorgan Chase Bank, National

          Association retains all remedies to pursue the Debtor in state court.

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Agreed to by:

          /S/                                                         /S/
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Attorney Brenda Carpenter, Esq. is directed to serve a copy of this Order within the time frame
established by Local Rule 5005-1(G)(1)(c) and to file a certificate of service conforming with the
requirements of Local Rule 2002-1(f).
